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 5
   Attorneys for Plaintiff
 6

 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                  NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION
10

11
     DANEANNE LEISINGER,                                Federal Case No.: 5:16-cv-03356-LHK
12
                    Plaintiff,
13                                                      STIPULATED REQUEST FOR
            vs.                                         DISMISSAL OF DEFENDANT
14                                                      EXPERIAN INFORMATION
   EXPERIAN INFORMATION SOLUTIONS,                      SOLUTIONS, INC.; [PROPOSED] ORDER
15 INC.; et. al.,

16                  Defendants.

17

18 TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
19          IT IS HEREBY STIPULATED by and between plaintiff Daneanne Leisinger and

20 defendant Experian Information Solutions, Inc., that Experian Information Solutions, Inc. be

21 dismissed from this action with prejudice pursuant to Federal Rules of Civil Procedure, section

22 41(a)(2), and that each party shall bear its own attorneys’ fees and costs.

23 //

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27 //

28 //
                                                       1
     STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER
         Case 5:16-cv-03356-LHK Document 59 Filed 03/13/17 Page 2 of 2




 1 DATED: March 9, 2017                         Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Daneanne Leisinger
 5
     DATED: March 9, 2017                       Jones Day
 6

 7

 8                                              By:          /s/Celia M. Jackson
                                                                    Celia M. Jackson
 9
                                                Attorneys for Defendant
10                                              Experian Information Solutions, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Celia M. Jackson has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
             Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc. is dismissed
17
     with prejudice and each party is to bear its own attorneys’ fees and costs.
18
             IT IS SO ORDERED.
19

20               March 13, 2017
     DATED:
21                                                 LUCY H. KOH
                                                   UNITED STATES DISTRICT JUDGE
22

23

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                                                        2
      STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                       [PROPOSED] ORDER
